
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-10-079-CV



IN RE GARY GEORGE STICKLES	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL: &nbsp;DAUPHINOT, LIVINGSTON, and MCCOY, JJ.



DELIVERED: &nbsp;March 29, 2010

FOOTNOTES
1:See
 Tex. R. App. P. 
47.4.




